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                       Exhibit A
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Peter Linton-Smith

From:                           TrialWorks Hosting Service
Sent:                           October 11 , 2019 9:47 AM
To:                             pls@thefl lawfirm.com
Subject:                        TrialWorks Hosting - Microsoft Service Outage




                                    G) TRIJ\L WORKSAn Assembly Software Company




                                Microsoft Service Outage




                                                            TrialWorks Support is available
                                                               M-F 8:30 am-5:30 pm EST
                                                       support@trialworks.com I Tel: 305 .357.6500

                                          TrialWorks has initiated After-Hours Emergency Support (Option
                                          5) to our Telephone Automated Attendant. Any customer with an
                                           emergency outage outside of our regular support hours should
                                                                   use this option.




                                                       FOLLOW US

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                                                  Visit our website



            TrialWorks Hosting Services   I   1550 Madruga Avenue, Suite 508, Coral Gables, FL 33146 ( 305)
                                                        357 -6500

                                              Unsubscribe pls@thefllawfirm.com
        Case 5:18-cv-00052-JSM-PRL Document 66-1 Filed 10/24/19 Page 3 of 5 PageID 535


Peter Linton-Smith

From:                       TrialWorks Hosting Service
Sent:                       October 16, 2019 4:01 PM
To:                         pls@thefllawfirm.com
Subject:                    TrialWorks Hosting - Service Outage 4pm Update: 10/ 16




                         Hosting Outage: 4pm Update




                                                   TrialWorks Support is available
                                                     M-F 8:30 am-5:30 pm EST
                                             support@trialworks.com I Tel: 305.357.6500

                                   TrialWorks has initiated After-Hours Emergency Support (Option
                                   5) to our Telephone Automated Attendant. Any customer with an
                                    emergency outage outside of our regular support hours should
                                                            use this option .




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Peter Lint on-Smith

From:                       TrialWorks Hosting Service
Sent:                       October 17, 2019 4:10 PM
To:                         pls@thefllawfirm.com
Subject:                    TrialWorks Hosting - Service Outage 4pm Update: 10/ 17




                         Hosting Outage: 4pm Update




                                                   TrialWorks Support is available
                                                     M-F 8:30 am-5:30 pm EST
                                             support@trialworks.com I Tel: 305.357.6500

                                   TrialWorks has initiated After-Hours Emergency Support (Option
                                   5) to our Telephone Automated Attendant. Any customer with an
                                    emergency outage outside of our regular support hours should
                                                            use this option.




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        Case 5:18-cv-00052-JSM-PRL Document 66-1 Filed 10/24/19 Page 5 of 5 PageID 537


Peter Linton-Smith

From:                          TrialWorks Hosting Service
Sent:                          October 22, 201 9 4:10 PM
To:                            pls@thefllawfirm.com
Subject:                       TrialWorks Hosting - Service Outage Final 4pm Update: 10/ 22




                      Hosting Outage: Final 4pm Update
            We continue to work through the residual issues from the incident. As we do so,
            we will move to individual communication with firms still experiencing challenges.
            Accord ingly, this will be the last 4pm update. Please note, that we are still
            experiencing high ticket volume, therefore our responses may be delayed. We will
            continue to diligently focus on working through outstanding tickets.

            As we complete our forensic analysis with our cyber security consultants, we will
            provide additional communication on incident analysis and response, but this will
            represent the last 4pm update.

            Thank you.


                                                      TrialWorks Support is available
                                                         M-F 8:30 am-5:30 pm EST
                                                 support@trialworks.com I Tel: 305.357.6500

                                      TrialWorks has initiated After-Hours Emergency Support (Option
                                      5) to our Telephone Automated Attendant. Any customer with an
                                       emergency outage outside of our regular support hours should
                                                               use this option.




                                                 FOLLOW US




                                            Visit our website




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